           Case 3:13-cr-03332-WQH                         Document 93                Filed 10/22/13             PageID.252              Page 1 of 2

     ~AO 245B (CASD) (Rev. 12111) Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COURT
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                                         v.                                          (For Offenses Committed On or After November I, 1987)

                  JOSE MANUEL PENALOZA-RIOS (6)                                      Case Number: J3CR3332-WQH
                                                                                     GERARDO GONZALEZ, CJA
                                                                                     Defendant's Attorney
     REGISTRATION NO. 40443298

     o
     THE DEFENDANT:
     181 pleaded guilty to count(s) _I_O_F_T_H_E_IN_F_O_RM_A_T_I_O_N_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
     0 was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
           after a plea of not guilty.
           Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                             Count
     Title & Section                          Nature of Offense                                                                             Number(s)
21 USC 841(a)(I)                      POSSESSION OF MARIJUANA WITH INTENT TO DISTRIBUTE




        The defendant is sentenced as provided in pages 2 through                2           of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
 D The defendant has been found not guilty on count{s) ------------------------------------------
 o    Count(s) _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ is                              0      areO dismissed on the motion of the United States.
 181 Assessment: $100.00 - Waived


  181 Fine waived                                   o    Forfeitnre pursuant to order filed
                                                                                                  ------------ , included herein.
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days of any change of name, residence,
 or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notify the court and United States Attorney of any material change in the defendant's economic circumstances.

                                                                               OCTOBER 21, 2013




                                                                                                                                              J3CR3332-WQH
      Case 3:13-cr-03332-WQH                        Document 93      Filed 10/22/13        PageID.253            Page 2 of 2

AO 2458 (CASD) (Rev. 12111) Judgment in a Criminal Case
           Sheet 2 - Imprisonment

                                                                                           Judgment -   Page _ _2=--_ of     2
 DEFENDANT: JOSE MANUEL PENALOZA-RIDS (6)
 CASE NUMBER: 13CR3332-WQH
                                                           IMPRISONMENT
        The defendant is hereby committed to the custody of the United States Bureau of Prisons to be imprisoned for a tenn of
         TIME SERVED



    o Sentence imposed pursuant to Title 8 USC Section I326(h).
    D The court makes the following recommendations to the Bureau of Prisons:



    o The defendant is remanded to the custody of the United States Marshal.
    o The defendant shall surrender to the United States Marshal for this district:
           Oat                                     Oa.m.    Op.m.    on _ _ _ _ _ _ _ _ _ __

               as notified by the United States Marshal.

    o The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
          o before ----------------------------------------------------------
          o as notified by the United States Marshal.
          o as notified by the Probation or Pretrial Services Office.
                                                              RETURN
I have executed this judgment as follows:

        Defendant delivered on                                                to

at _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy of this judgment.


                                                                                         UNITED STATES MARSHAL


                                                                    By _______~~~~~~~~~-------
                                                                                      DEPUTY UNITED STATES MARSHAL




                                                                                                                   13CR3332-WQH
